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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                )
In re                                                           )     Chapter 15
                                                                )
Crédito Real, S.A.B. de C.V., SOFOM, E.N.R., 1                  )     Case No. 22-10630 (JTD)
                                                                )
          Debtor in a Foreign Proceeding.                       )
                                                                )
                                                                )
In re:                                                          )     Chapter 11
                                                                )
Credito Real, S.A.B. de C.V., SOFOM, E.N.R.                     )     Involuntary Case No. 22-10696 (JTD)
                                                                )
                            Putative Debtor.                    )
                                                                )

                     NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                       HEARING ON AUGUST 9, 2022 AT 2:00 P.M. (ET)

          THE REMOTE HEARING WILL BE CONDUCTED ENTIRELY BY ZOOM
           AND REQUIRES ALL PARTICIPANTS TO REGISTER IN ADVANCE.
                  COURTCALL WILL NOT BE USED TO DIAL IN.

         PLEASE USE THE FOLLOWING LINK TO REGISTER FOR THE HEARING:
                  https://debuscourts.zoomgov.com/meeting/register/vJIsc-
                           ChrDMvHeImV8Amhtiy8B5kC5btOQU

         ONCE REGISTERED, PARTIES WILL RECEIVE AN EMAIL CONTAINING
               PERSONAL LOG-IN INFORMATION FOR THE HEARING.


I.        STATUS CONFERENCE:

          1.       Verified Petition for Recognition of Foreign Main Proceeding [Chpt. 15 Docket
                   No. 2 – filed July 14, 2022]

                   Status: A status conference regarding briefing and scheduling in the chapter 15
                           case and the involuntary chapter 11 case will go forward



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     The last four identifying digits of the tax number and the jurisdiction in which the Chapter 15 Debtor pays taxes
     is Mexico – 6815. The Chapter 15 Debtor’s corporate headquarters is located at Avenida Insurgentes Sur No.
     730, 20th Floor, Colonia del Valle Norte, Alcaldía Benito Juárez, 03103, Mexico City, Mexico.


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         2.        Motion of the Putative Debtor to Dismiss the Involuntary Chapter 11 Petition
                   [Chpt. 11 Docket No. 5– filed July 14, 2022]

                   Status: A status conference regarding briefing and scheduling in the chapter 15
                           case and the involuntary chapter 11 case will go forward

Dated: August 5, 2022

Respectfully submitted,

/s/ Amanda R. Steele

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